
241 Md. 728 (1966)
217 A.2d 338
JONES
v.
WARDEN OF THE MARYLAND PENITENTIARY
[App. No. 49, September Term, 1965.]
Court of Appeals of Maryland.
Decided March 9, 1966.
Before PRESCOTT, C.J., and HAMMOND, HORNEY, MARBURY, OPPENHEIMER, BARNES and McWILLIAMS, JJ.
PER CURIAM:
No reasons are stated in petitioner's application why the lower court's order should be reversed as required by Maryland Rule BK 46, and it may be denied on that ground alone. Taylor v. Warden, 238 Md. 645, 210 A.2d 514 (1965). However, because he was convicted of the crime of murder, we have reviewed the contentions he put to the trial judge. We find no merit in any of them and for the reasons stated by Judge Byrnes in his opinion, the application will be denied.
Application denied.
